Case 2:04-cV-02252-BBD-tmp Document 35 Filed 06/03/05 Page 1 of 2 Page|D 57

IN THE UNITED STATES DISTRJCT coURT F\*£D @Y%/ m3-
WESTERN DISTRICT oF TENNESSEE

WESTERN DIVISION 05 JUN -3 AH ll= 52
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CAMPBELL CLINIC, ET AL_ %YH”AMT id b m
W.r). c)z»= m rationale
vs CASE No.; 04Cv2252-D/P
THE ADMINISTRATWE GROUP, ET AL. DEFENDANTS
oRl)ER

This cause having come into default on December l, 2004 by failure of
Defendants Chad Starkey, Don Starkey, NuStatf, Inc., The Administrative Group, lnc.,
and/or lnternational StaH` Management, lnc_ to plead or make other defense, and
satisfactory proof of Plaintiffs damages having been brought before the Court, and the
Coult having found recovery of said damages lawful, it is

ORDERED, ADJUDGED AND DECREED that Plaintiffs recover of the
Defendants, Chad Starkey, Don Starkey, NuStaff, lnc., The Administrative Group, lnc.,
and/or lnternational Staff Management, Inc. $ ('f,, 9 3 5, é C) in actual
damages, $ [O[Qf 2f1 adm punitive damages, and $ 6_, 2 "/ 7. 7 D`_ in

attorney’s fees, plus all costs of this action

 

so oRDERED, this the 31 day Of May, 2005_

  

U. .DISTRJC COURT JUDGE

 
 

Th‘\s document entered on the docket chest l_r_i co pl|ance
with ama 56 and/or reia) FRcP on ___CO___Q_& /

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 35 in
case 2:04-CV-02252 Was distributed by faX, mail, or direct printing on
June 10, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

